Case 2:18-cr-00160-CJB-DMD Document126 Filed 05/20/19 Page 1 of 6

U.S. Department of Justice
United States Attorney
Eastern District of Louisiana

 

 

Julia K. Evans The Poydras Center Telephone: 504-680-3162
Assistant United States Attorney 650 Poydras Street, Suite 1600 Fax: 504-589-2027
New Orleans, Louisiana 70130

May 20, 2019

Honorable Carl J. Barbier
United States District Judge
Eastern District of Louisiana
500 Poydras Street, Room C256
New Orleans, Louisiana 70130

Re: United States v. Terry J. Knope, II
Criminal Docket No.: 18-160 “J”

Dear Judge Barbier:

In compliance with the holding of Bryan v. United States, 492 F.2d 775 (Sth Cir. 1974),
and with Rule 11 of the Federal Rules of Criminal Procedure, the Government wishes to
acknowledge the following agreement between the Government and Terry Knope, the defendant,
in the above-captioned proceeding. Defendant’s undersigned counsel, Michael Riehlmann, Esq.,
has reviewed the terms of this agreement and has been advised by the defendant that the defendant
fully understands the terms of this agreement.

The Government will allow the defendant, Terry J. Knope, II, to plead guilty to a four count
Superseding Bill of Information. Count One charges the defendant with Conspiracy, in violation
of Title 18, United States Code, Section 371, for conspiring to commit a violation of Title 18,
United States Code, Section 1589 (Forced Labor). Count Two charges the defendant with
Interference with Federal Housing Rights, in violation of Title 42, United States Code, Section
3631(a) and (b). Count Three charges the defendant with a Hate Crime, in violation of Title 18,
United States Code, Section 249(a)(2). Count Four charges the defendant with Misprision of a
Felony, in violation of Title 18, United States Code, Section 4. These charges arise out of the
abuse of victim D.P. between August 2015 and June 2016 in Amite, Louisiana. The Government
has agreed that, should the Court accept the defendant’s guilty plea to the Superseding Bill of
Information, the Government will request the Court to dismiss, at the time of sentencing, Counts

Page 1 of 6
AUSA

Defendant
Defense Counsel

 
Case 2:18-cr-00160-CJB-DMD Document126 Filed 05/20/19 Page 2 of 6

1, 2, 3, 4, 5, and 6 of the pending Indictment against the defendant. The Government further agrees
that it will not bring any other criminal charges in the Eastern District of Louisiana arising from
the defendant’s involvement in the abuse of victim D.P. in Amite, Louisiana, and from the use and
manufacture of methamphetamine in Amite, Louisiana, so long as the defendant has truthfully
informed law enforcement officials of the full and complete details of those crimes prior to his
guilty plea in this case. The defendant understands that this does not apply to felony crimes of
violence that he may have committed that he has not yet disclosed to the Government. The
Government further agrees to request the transfer of primary jurisdiction over the defendant from
the State of Louisiana to the Federal Government. The defendant understands that the Government
cannot guarantee that this request will be granted.

The defendant further understands that the maximum penalties he may receive should his
guilty plea be accepted is: (a) Count One (18 U.S.C. § 371): five (5) years imprisonment, a fine
of $250,000, three (3) years supervised release, and such restitution as may be ordered by the
Court; (b) Count Two (42 U.S.C. § 3631): ten (10) years imprisonment, a fine of $250,000, three
(3) years supervised release, and such restitution as may be ordered by the Court; (c) Count Three
(18 U.SC. § 249): ten (10) years imprisonment, a fine of $250,000, three (3) years supervised
release, and such restitution as may be ordered by the Court; and (d) Count Four (18 U.S.C. § 4):
three (3) years imprisonment, a fine of $250,000, one (1) year supervised release, and such
restitution as may be ordered by the Court.

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties enter
this agreement with the understanding that, at sentencing, the parties will jointly recommend to
the Court that all counts of conviction run consecutive to each other for a sentence of not less than
twenty-eight (28) years, to run concurrently with any sentence imposed on the defendant by the
Twenty-First Judicial Court for the Parish of Tangipahoa, State of Louisiana, in case number
1602073. The parties acknowledge that the following state charges are pending against the
defendant in the Twenty-First Judicial District Court for the Parish of Tangipahoa, State of
Louisiana, in case number 1602073: one count of Human Trafficking (LA R.S. 14:46.2); one count
of Cruelty to the Infirm (LA R.S. 14:93.3); one count of Exploitation of the Infirm (LA R.S.
14:93.4); one count of Promoting Prostitution (LA R.S. 14:83.2); one count of Second Degree
Kidnapping (LA R.S. 14:44.1); one count of Contributing to the Delinquency of Juveniles (LA.
R.S. 14:92.A(11)(a)); and one count of Aggravated Battery (L.A. R.S. 14:34). The parties further
acknowledge that the Tangipahoa Parish District Attorney’s Office (TPDAO) has stated its intent
to resolve these pending state charges through a plea agreement with the defendant and to
recommend a sentence of no more than thirty-three years’ imprisonment, to be served concurrently
with any sentence imposed on the defendant for the federal charges pending against him.
Regardless, the defendant understands and has discussed with his attorney that the United States
is not a party to the defendant’s agreement with the TPDAO, and has no authority of any kind to
enforce any such agreement. The defendant understands that failure by the TPDAO to honor its
agreement will not be grounds for invalidation of this agreement.

It is understood that the Court may require the defendant to pay restitution in this matter in
accordance with applicable law. The defendant further understands that he is liable to make

Page 2 of 6
AUSA

Defendant
Defense Counsel
Case 2:18-cr-00160-CJB-DMD Document 126 Filed 05/20/19 Page 3 of 6

restitution for the full amount of the loss determined by the Court to constitute relevant conduct,
which is not limited to the counts of conviction. To the extent possible by law, the parties agree
that all restitution paid to the victim in this case shall be made pursuant to the Trafficking Victim
Protection Act and the restitution will be paid pursuant to 18 U.S.C. §1593. The defendant
understands and agrees that he is responsible for the entire amount of any restitution ordered
despite his having co-defendants. The defendant agrees that any restitution will be non-
dischargeable in any bankruptcy proceeding and that defendant will not seek or cause to be sought
a discharge or a finding of dischargeability of any restitution obligation. The defendant further
acknowledges and understands that, notwithstanding any payment schedule imposed at sentencing
or during probation or supervised release, restitution is due and payable in full immediately upon
entry of the judgment of conviction.

Further, the defendant understands that a mandatory special assessment fee of $100.00 for
each count of conviction shall be imposed under the provisions of Section 3013 of Title 18, United
States Code. This special assessment must be paid on the date of sentencing. Failure to pay this
special assessment may result in the plea agreement being voided.

The defendant further understands that the Court, in imposing a sentence of a term of
imprisonment, may include as part of the sentence a requirement that the defendant be placed on
a term of supervised release pursuant to Title 18, United States Code, Section 3583. Supervised
release is a period following release from prison during which defendant’s conduct will be
monitored by the Court or the Court’s designee. Defendant fully understands that if defendant
violates any of the conditions of supervised release that the Court has imposed, defendant’s
supervised release may be revoked and defendant may be ordered by the Court to serve in prison
all or part of the term of supervised release.

Defendant understands that Title 18, United States Code, Section 3742 and Title 28, United
States Code, Section 1291, may give a criminal defendant the right to appeal his conviction,
sentence, restitution, fine, and judgment imposed by the Court. Defendant also understands that
he may have the right to file collateral challenges to his conviction and sentence, and judgment,
including but not limited to rights provided by Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, and writs of coram nobis and audita querela. Defendant further understands that Title
18, United States Code, Section 3582(c)(2), may allow the Court to grant a sentencing reduction
to the defendant if the defendant has been sentenced to a term of imprisonment based upon a
sentencing range that has been subsequently lowered by the United States Sentencing Commission
and determined to apply retroactively to defendants who already have been sentenced to a term of
imprisonment.

Acknowledging these rights, subject only to the exceptions indicated in subsection (d)
below, the defendant, in exchange for the promise(s) and agreement(s) made by the United States
in this plea agreement, knowingly and voluntarily:

Page 3 of 6
AUSA

Defendant
Defense Counsel
Case 2:18-cr-00160-CJB-DMD Document 126 Filed 05/20/19 Page 4 of 6

a. Waives and gives up any right to appeal or contest his guilty plea, conviction,
sentence, fine, supervised release, and any restitution imposed by any judge under any applicable
restitution statute, including but not limited to any right to appeal any rulings on pretrial motions
of any kind whatsoever, as well as any aspect of his sentence, including but not limited to any and
all rights that arise under Title 18, United States Code, Section 3742 and Title 28, United States
Code, Section 1291;

b. Waives and gives up any right to appeal any order, decision, or judgment arising
out of or related to Title 18, United States Code, Section 3582(c)(2) imposed by any judge and
further waives and gives up any right to challenge the manner in which his sentence was
determined and to challenge any United States Sentencing Guidelines determinations and their
application by any judge to the defendant’s sentence and judgment;

c. Waives and gives up any right to challenge his sentence collaterally, including but
not limited to any and all rights that arise under Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, writs of coram nobis and audita querela, and any other collateral challenges to his
sentence of any kind; and

d. The defendant specifically does not waive, and retains the right to bring a direct
appeal of any sentence imposed in excess of the statutory maximum. The defendant also retains
the right to raise a claim of ineffective assistance of counsel in an appropriate proceeding.

The defendant understands and acknowledges that his knowing and voluntary waiver of
the right to appeal or collaterally attack his conviction and sentence includes waiving the right to
raise on appeal or on collateral review any argument that (1) any statute to which the defendant is
pleading guilty is unconstitutional or (2) the admitted conduct does not fall within the scope of the
statute.

The defendant understands that any discussions with defendant’s attorney or anyone else
regarding sentencing guidelines are merely rough estimates, and the Court is not bound by those
discussions. The defendant understands that the sentencing guidelines are advisory and not
mandatory for sentencing purposes. The defendant understands that the Court could impose (and,
in fact, that the parties are jointly recommending) the maximum term of imprisonment allowed by
law for the charges in the Superseding Bill of Information, including the imposition of supervised
release. The defendant is also aware that in determining a fair and just sentence, the Court has the
authority and discretion, pursuant to Title 18, United States Code, Sections 3553 and 3661 and the
United States Sentencing Guidelines, to consider any and all “relevant conduct” that the defendant
was involved in, the nature and circumstances of the offenses, and the history and characteristics
of the defendant.

In an effort to resolve this matter in a timely fashion and show good faith, the defendant
agrees to knowingly, voluntarily, and expressly waive his rights pursuant to Rule 410(a) of the
Federal Rules of Evidence upon signing this plea agreement and the factual basis. The defendant
understands and agrees that if he violates the plea agreement, if he withdraws his decision to plead

Page 4 of 6
AUSA

Defendant
Defense Counsel
Case 2:18-cr-00160-CJB-DMD Document126 Filed 05/20/19 Page 5 of 6

guilty, or if his guilty plea is later withdrawn or otherwise set aside, any statements he has made
to law enforcement agents or an attorney for the prosecuting authority during plea discussions, any
statements he has made during any court proceeding involving his plea of guilty G@ncluding any
factual bases or summaries signed by the defendant), and any leads from such statements, factual
bases or summaries, shall be admissible for all purposes against the defendant in any and all
criminal proceedings. The parties agree that this waiver will not apply, however, if the Court
refuses to accept the defendant’s guilty plea to Counts One through Four of the Superseding Bill
of Information.

The defendant agrees to forfeit to the United States any right, title, and interest in all assets
subject to forfeiture under the notice(s) of forfeiture contained in the charging document, including
property specified in any bill of particulars and property previously seized by the Government for
administrative, civil, or criminal forfeiture. The defendant understands and agrees that this
property includes, but is not limited to, property located at 57509 Rushing Lane, Amite, Louisiana,
70422. The defendant further consents to the filing of a motion for a preliminary order forfeiting
such property and any dollar amount specified in the notice(s) of forfeiture or bill of particulars,
and the defendant confesses the requisite nexus between the property and the charge(s) of
conviction. The defendant hereby withdraws any petition for remission or claim for such property
and further waives any right to contest or appeal the Government’s forfeiture proceedings for any
reason, including on grounds that the forfeiture constitutes an unconstitutionally excessive fine or
punishment, and in any manner, including by claim, petition, appeal, or collateral attack.

The defendant further agrees to submit to interviews whenever and wherever requested by
law enforcement authorities regarding all assets currently or previously within his possession or
any assets transferred or sold to or deposited with any third party as outlined within the preceding
paragraph. It is also understood that defendant will provide any and all financial information and
documentation requested by the Government, agrees to voluntarily execute a complete and
thorough Financial Statement of Debtor, and further agrees to provide the requested List of Items
that is attached to the Financial Statement. The defendant understands this information may be
provided to a representative of any victim of this offense.

The defendant recognizes that any criminal monetary penalty, whether special assessment,
criminal fine, or restitution, that is owed as a result of his conviction will be immediately submitted
to the Treasury Offset Program. The defendant waives any objection to his inclusion in the
Treasury Offset Program.

The defendant acknowledges that he wishes to enter this plea agreement because he is in
fact guilty of the charged crimes and that victim D.P. was harmed as a result of his criminal acts.

Page 5 of 6
AUSA

Defendant
Defense Counsel
Case 2:18-cr-00160-CJB-DMD Document126 Filed 05/20/19 Page 6 of 6

The defendant understands that the statements set forth above and in the attached SEALED
document (Attachment “A”) represent defendant’s entire agreement with the Government; there
are not any other agreements, letters, or notations that will affect this agreement.

Very truly yours,

PETER G. STRASSER
ITED STATES ATTORNEY

JULIX K. EVANS
Assistant United States Attorney

“Ried Ce ter ~

RISA BERKOWER

NICHOLAS REDDICK

Trial Attorneys

Civil Rights Division, Criminal Section
ft U.S. Department of Justice

SV el S 4or7

TERRY J. KNOPESIT (Date)
Defendant

  
 

Counsel for Defendant

Page 6 of 6
